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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
                                    )
JEANETTE BRAUN,                     )
BRAUN IP LAW, LLC &                 )
LAUREN PROPSON,                     )
                                    )
           Plaintiffs,              )    Case No. 23-cv-16856
                                    )
      v.                            )    Hon. J. Mary Rowland
                                    )
REBEKAH M. DAY NEE BOX,             )    Mag. J. M. David Weisman
KC THE OWNER & OPERATOR OF THE )
ONLINE SOCIAL MEDIA ACCOUNT         )
@CAFFINATEDKITTI,                   )
JESSICA VAZQUEZ, &                  )
LILY MARSTON,                       )
                                    )
           Defendants.              )

                   SUPPLEMENTAL JURISDICTIONAL STATEMENT

       Pursuant to this Court’s January 17, 2024 docket order [6], Plaintiffs, Jeanette Braun, Braun

IP Law, LLC, and Lauren Propson (“collectively Plaintiffs”), allege as follows:

Plaintiff Jeanette Braun and Braun IP Law LLC:

   1. Plaintiff Jeanette Braun is a citizen and resident of Illinois.

   2. Plaintiff is also licensed attorney in Illinois, where she operates Braun IP Law, LLC

       ("Braun Law"), a law firm organized under the laws of the State of Illinois with a contact

       address at 1600 W. Lake Street, Suite 103B, Addison, DuPage County, Illinois.

   3. Plaintiff Braun Law has its office and principal place of business in Northbrook, Illinois,

       engages with Illinois-based law firms, and contributes to local bar association and

       community events.

   4. Plaintiff Jeanette Braun, despite maintaining seasonal residency in South Carolina, is

       domiciled in Illinois, where she has substantial professional and personal connections,
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      including a residence in Cook County. Her substantial business operations, professional

      licensure, and active participation in the Illinois legal community are centered in Illinois.

   5. While Plaintiff Jeanette Braun does own property and spends part of the year in South

      Carolina, her primary and longstanding economic, familial, and professional ties remain in

      Illinois, evidenced by her Illinois-based medical care providers, accountants, and legal and

      business advisors.

   6. Plaintiff Braun's participation in community and professional activities, as well as her

      connections to clients, employees, and colleagues, primarily relate to and impact the

      Illinois area, where her reputation and business are most established.

Plaintiff Lauren Propson:

   6. Plaintiff Lauren Propson is a citizen and resident of the State of Wisconsin.

Defendants:

   7. Defendant Rebekah M. Day nee Box is a citizen and resident of the State of Missouri.

   8. Defendant                 AKA KC, the operator and owner of the social media account

      @CaffinatedKitti, is a citizen and resident of the State of Georgia.

   9. Defendant Jessica Vazquez is a citizen and resident of the State of Georgia.

   10. Defendant Lily Marston is a citizen and resident of the State of California.


                                                     Respectfully Submitted,


                                                     /s/ Benjamin C.R. Lockyer
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